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 EXHIBIT 40
                                                                                                     THE RICHMARK COMPANY
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                                                                                                                  Rough & Associates
                                                                                                                 BILL DONNER
  Message                                                                                                           11/16/21
  From:          Jeff Scott [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
                 (FYDI BO HF23SPDLT)/CN =RECI Pl ENTS/CN =68B7853D97544B038E63227513354D80-JEFF SCOTT]                104
  Sent:          7/2/2020 4:54:14 PM
  To:            Elle Lochelt [elochelt@richmarklabel.com]; James Kim Likim@richmarklabel.com]; Melissa Huddleston
                 [mhuddleston@richmarklabel.com]; Deven Lewis [dlewis@richmarklabel.com]; Jennie Lanahan
                 Lilanahan@richmarklabel.com]; Keegan McAdam [kmcadam@richmarklabel.com]; Tyler Curtright
                 [tcurtright@richmarklabel.com]; Rick Gray [rgray@richmarklabel.com]; Aaron Seeley [aseeley@richmarklabel.com];
                 Ken C. Vartanian [kvartanian@richmarklabel.com]; Matthew Pritchard [mpritchard@richmarklabel.com]; Jeremy
                 Flahaven [jflahaven@richmarklabel.com]
  Subject:       June 2020 - heretofore known as "The age of CHOP"
  Attachments:   2020-2021 New Acct Comp tracking lst.xlsx


  Good morning Richmark sales team and welcome to the dawning of a new era! We've moved from "The age of CHOP"
  to a police state which so far seems to be a bit safer and cleaner than its predecessor, albeit a bit less interesting. Who
  knows what's going to happen next, but congratulations on making it through June 2020! What a month. There's not a
  lot of people who can say they've been through what we just went through and not only did you make it through, but
  we closed 40 new accounts and we were up over 10% for the month compared to last June!
  I don't even know what to say. That's amazing stuff and I'd be taking you out for drinks and party times if we weren't
  still in the midst of a pandemic. We will celebrate again though. I promise and it's gonna be a good one. Great job
  everyone!
  Also, congratulations to Jennie, Melissa and Deven for closing 5+ and earning themselves $50 and Jeremy for closing 4
  and earning himself $25. I'm liking this new cash prize program, so we're gonna keep it rolling in July. $50 for 5 closed,
  $25 for 4. ©

  Now on to July!
  It's the last month in the first 4 month period of the new account competition (standings attached) and everyone is still
  in it, so lets close a ton this month. 5 each.
  Also, if all goes as planned, we're going to start rolling with the new BNC program, so dig up all of those prospects you
  haven't been able to close or that you lost for various reasons and we'll lay out the plan in the next week or so. I'm
  looking for 100 each sales rep to go out this month, so build that list and get it ready.

                                                                                                     th
  That's it for now. Here's looking to a calm and successful July. Happy Selling and have a great 4 of July weekend.

  Thanks,
  Jeff Scott
  Richmark Label
   Main: (206) 322-8884
   Cell: (206) 713-3195
   Jscott@richmarklabel.com
   www.richmarklabel.com




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                                                                       THE RICHMARK COMPANY
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1st four month period ‐ New Account Competition ‐ April 2020 through July 2020



Keegan
James
                ------- --
                April
                 7
                 2
                          May
                           3
                           4
                                    June
                                      3
                                      1
                                               July      Totals
                                                          13
                                                           7
                                                                    Place
                                                                     2nd


Melissa          2         2          5                    9
Deven            3         5          6                   14         1st
Jennie           3         3          6                   12         3rd
Tyler            5         5          2                   12         3rd
Ken              2         6          3                   11         4th
Aaron            5         2          3                   10
Matt             2         2          1                    5
Jeremy           2         1          4                    7
Rick             2         2          2                    6

1st ‐ $900.00
2nd ‐ $700.00
3rd ‐ $500.00
4th ‐ $250.00
